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Exhibit B
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Carr, Christopher L

From: foia_case_officer

Sent: Thursday, March 7, 2019 2:30 PM

To: ‘69086- 18022469 @requests.muckrock.com’

Subject: RE: [Non-DoD Source] RE: Freedom of Information Act Request #106371

Ms. Kinnuean,

Thanks for your timely response. You will be hearing from us soon regarding the status of your request.

Thank you,

FOIA Customer Representative

From: 69086-18022469@requests.muckrock.com <69086-18022469 @requests.muckrock.com>
Sent: Wednesday, March 6, 2019 9:54 PM

To: foia_case_officer <foia_case_officer@nsa.gov>

Subject: [Non-DoD Source] RE: Freedom of Information Act Request #106371

National Security Agency
FOIA Office

#6248

9800 Savage Road

Fort Meade, MD 20755-6248

March 6, 2019

This is a follow up to request number 106371:

Greetings,

1am formally amending FOIA Request 106371 to request both volumes | and II of "A Report to the Committee
on Appropriations - U.S, House of Representatives on the Effectiveness of the Worldwide Communications
Systems and Networks of the DoD, U.S.S. Liberty Incident",

According to a partially declassified 1981 NSA report entitled "Attack on a Sigint Collector. the U.S.S. Liberty"
(see note 3 on page 60 of the attachment) the NSA's copy of this Congressional report is "located in the 'Crisis
Collection’ of the NSA History Collection". | am not. at this time, requesting a copy of the NSA report "Attack
on a Sigint Collector, the U.S.S. Liberty",

Sincerely,

Michelle Kinnucan
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Filed via MuckRock.com

E-mail (Preferred): 69086-18022469@requests.muckrock.com

Upload documents directly: https://www.muckrock.com/accounts/agency_login/national-security-agency- 17/us-
house-appropriations-comm-report-on-uss-liberty-incident-69086/2email=loia_case_o fficer%40nsa.gov&uuid-
login=0d636de2-fa5-47e5-afec-e7856cd59cde#agency-reply

Is this email coming to the wrong contact? Something else wrong? Use the above link to let us know.

For mailed responses, please address (see note):
MuckRock News

DEPT MR 69086

411A Highland Ave

Somerville, MA 02144-2516

PLEASE NOTE: This request is not filed by a MuckRock staff member. but is being sent through MuckRock
by the above in order to better track, share, and manage public records requests. Also note that improperly
addressed (i.e., with the requester's name rather than "MuckRock News" and the department number) requests
might be returned as undeliverable.

On March 5, 2019:
Good Afternoon.

We are in receipt of your Freedom of Information Act (FOIA) request of 18 February 2019 for, "Pages 48-50 of
Volume | and pages 75-76 of Volume II only." Your request has been assigned case number 106371,

We are uncertain of the records you seek. Department of Defense (DoD) Regulation 5400.7-R states that the
requester must provide a description of the desired record so that the Government is able to locate the records
with a reasonable amount of effort. More detail is required for us to determine the appropriate files to search to
find the material you request. Please confirm that you are requesting:

- Pages 48-50 of "Attack on a SIGINT Collector, the U.S.S, Liberty"
~ Pages 75-76 of Volume II of the "Special Series Crisis Collection"

Additionally, are you requesting a copy of the "A Report to the Committee on Appropriations - U.S. House of
Representatives on the Effectiveness of the Worldwide Communications Systems and Networks of the DoD.
U.S.S. Liberty Incident?"

In accordance with DoD regulation, processing of your request is being held in abeyance pending a response
from you, within 30 days of the date of this email. clarifying your request. If we do not hear from you within
that time, we will assume that you are no longer interested in pursuing this request, and we will administratively
close your case with no further processing,

Correspondence related to your request should include the case number assigned to your request. which is
included in the first paragraph of this email. Your correspondence should be addressed to the National Security
Agency, ATTN: FOIA Office (P132), 9800 Savage Road STE 6932. Ft. George G. Meade, MD 20755-6932. or
via email at foia_case_officer@nsa.gov and fax at 301-688-6527.

Thank you.

FOIA Customer Representative
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On Feb, 17, 2019:
To Whom It May Concern:
Pursuant to the Freedom of Information Act, | hereby request the following records:

The pages indicated below of "A Report to the Committee on Appropriations - U.S. House of Representatives
on the Effectiveness of the Worldwide Communications Systems and Networks of the DoD, U.S.S. Liberty
Incident". This document was prepared by the House Appropriations Committee Surveys and Investigations
Staff "[following a hearing focusing on the JCS messages which failed to reach the Liberty" at the direction of
"the House Appropriations Committee on 14 August 1967 ..."

At this time | am specifically requesting pages 48-50 of volume | and pages 75-76 of volume II only, This
Congressional report is referenced on pages 59-60 of a partially declassified 1981 NSA report entitled "Attack
on a Sigint Collector, the U.S.S. Liberty" (see attachment), The NSA report gives no date for the House report
but says "Source documents are located in the 'Crisis Collection’ of the NSA History Collection",

The requested documents will be made available to the general public, and this request is not being made for
commercial purposes.

In the event that there are fees, | would be grateful if you would inform me of the total charges in advance of
fulfilling my request. | would prefer the request filled electronically, by e-mail attachment if available or CD-
ROM if not.

Thank you in advance for your anticipated cooperation in this matter. | look forward to receiving your response
to this request within 20 business days, as the statute requires.

Sincerely,
Michelle Kinnuean

Filed via MuckRock.com

E-mail (Preferred): 69086-1 8022469 @requests.muckrock.com

Upload documents directly: https://www.muckrock.com/aecounts/agency_login/national-security-agency- 17/us-
house-appropriations-com m-report-on-uss-liberty-incident-69086/2email=foia_case_ofticer%40nsa.gov&uuid-
login=0d636de2-f9a5-47e5-afec-e7856ced59cd4e#agency-reply .

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411A Highland Ave

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HISTORY

Attack on a Sigint Collector,
the U.S.S. Liberiy +S-ECEO5-

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AGL RE Classified by NSA/CSSM 123-2

r Vela. 160 f Review in April 2011

TAL Declassified and approved for release by NSA on 11-08-2006 pursuant to E.o.
bo) 8) dd 12958, aS amended. MOR 51712.

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Case 2:20-cv-01309-MJP Document 86-2 Filed 08/14/24 Page 6 of 9

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the Office of Cryptologic Archives and History, T54.
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“POP SECRETF-UMBRA

UNITED STATES CRY PTOLOGIC HISTORY

Special Series
Crisis Collection
Volume 1

Attack on a Sigint Collector,
the U.S.S. Liberty {8=€€0)-

William D. Gerhard
Henry W. Millington

NATIONAL SECURITY AGENCY/CENTRAL SECURITY SERVICE
1981

———
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Means employed in issuing operational directives of
the JCS to the U.S.S. Liberty and the specific orders
to the Liberty between 1 June and 8 June 1967, and
to identify and develop information on conflicting
directives, delays in message traffic, and nonreceipt of
orders. The team was to report its findings, along with
recommendations, to the JCS,

tE-Ceer The JCS team visited NSA, other
Washington-area principals, and concerned military
staffs and commands in Europe and the Mediterra-
nean. On 10 June, as the team began ite fact-finding
mission, General Carter called General Russ and
offered the total cooperation of NSA and followed
through on this offer by making as much information
available to him aa required, although General Russ
had already decided not to concentrate on sensitive
(that ia, special intelligence) matters,

(U) As the work of the fact-finding team
was drawing to a close, General Russ provided on 18
June a preliminary report to the Chairman of the
Joint Chiefs of Staff, General Earle Wheeler, USA.
He apprised the Chairman of the four messages from
higher headquarters on 7/8 June to subordinate com-
mands designed to change the Liberty's CPA, receipt
of which by Liberty “would undoubtedly have resulted
in the ship's being a greater distance from the acene
of action...."" Despite the Liberty's having been either
an action or an information addressee on each of these
messages, General Russ’s team found no evidence that
the ship received any one of them. Nor did his team
find, for that matter, any evidence of conflicting
directives governing the Liberty's operation. General
Russ also made note of the irregular procedure JCS
itself had adopted in bypassing Commander-in-Chief,
Europe when it passed verbal instructions to Com-
mander-in-Chief, U.S. Navy Europe, and he recounted
the reasons for delays at NAVEUR and Sixth Fleet in
translating the JCS directive into action.

(U) By 20 June the JCS Fact Finding
Team had completed its work, had Prepared its report,
and had made its recommendations to the JCS. Of
the 17 recommendations made, 9 concerned the mis-
sions, functions, operational responsibilities, and op-
erationa] control/technical tasking and guidance mat-
tera; the other 8 related to communications, traffic
management, methods, facilities, and availability of
trained personnel, In reviewing and commenting on
the report's recommendations for the JCS, the J3 and
J6/JCS reserved follow-on action for the first category
of recommendations to the Joint Staff but agsigned
responsibilities to various other agencies for study and
implementation actions in the second category of
recommendations. NSA drew assignmenta on three

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recommendations dealing with emphasis on dedicated
command-and-contro! circuitry rather than on
common-user circuitry, with measures to improve fleet
contro] communications via communications satellite
technology, and with the amalgamation of NATO and
U.S. military communications.

45-660} Other than the three recommendations
on which it participated as an action agency, NSA
was concerned about some of the other findings in the
report, One recommendation was, for example, that
“procedures governing the control of surveillance plat-
forms be made more definitive with respect to tech-
nical research ships to insure that ‘“‘artificial barriers
between operational elements of staffs and NSA/Naval
Security Group” owing to security considerations be
eliminated “in order to improve the value and timely
utilization of the Sigint products at all major command
echelons." Insofar as NSA was concerned, this rec-
ommendation was off the mark since Sigint product
already went directly to all commands and not through
NSA/Naval Security Group staffs. NSA commented
formally on this point in a letter to Major General
G.B. Pickett, Vice Director for Operations (J-3); in
ite commentary on the Russ report for the JCS, the
J-3 discounted this recommendation.

(U) When copies of the JCS Fact Finding
Team's report reached NSA at the end of June,
General Carter instructed the chief of his telecom-
munications organization, Colonel Leslie J. Bolstridge,
USAF, to review the report in minute detail with a
view to “correcting our procedures wherever we can
profit from this debacle of military communications.”
Since the Russ report primarily dealt with command-
and-control communications, the Russ recommenda-
tions had only marginal pertinence to NSA’s own
communications.’

Congressional Review (U)

(U) Following a hearing focusing on the
JCS messages which failed to reach the Liberty, the
House Appropriations Committee on 14 August 1967
directed ite Surveye and Investigations staff to examine
the effectiveness of the DoD worldwide communications
syatem, The staff studied the delays and nondelivery
of messages originated on 7 and 8 June directing the
withdrawal of the Liberty as a springboard to ita
broader review of Dol's worldwide communications.
The staff produced a two-volume report for the chair-
man of the congressional committee. Volume I re-
viewed the communications problema in the Liberty
incident, volume [I the worldwide communications
systema and networks of the DoD.

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(U) In its work, the Surveys and Investi-
gations staff interviewed JCS, NSA, Naval Commu-
nications Command, Department of Army Communi-
cations Center, and JCS Message Center personnel in
the Washington area and most of the military com-
mands and communications centers in the Pacific and
European regions which had been involved with Lib-
erty’s communications in one Way or another.

(U) Essentially the staff covered the same
ground that General Ruas's team plowed earlier. They
worked their way through all the communications
errors made during the attempts to withdraw the
Liberty on 7/8 June. The staff was somewhat more
critical than the JCS Fact Finding Team of the failure
to deliver to the Liberty the information copies of the
JCS and CINCEUR messages directing withdrawal
(JCS 0861102 June 67 and CINCEUR 0806257 June
67). Specifically, they wanted to know if a typical
commander would take action on an information copy
of this kind from a higher command before receiving
the implementing message of his immediate superior.
They tested the matter with unnamed U.S. Navy
officials who had commanded both large and small
naval vessels and learned, according to the report,
that there would have been no question that if the
Liberty had received the information copies, ‘the
Captain of the Liberty would have moved within
minutes without waiting for an implementing order.”
(U) In its volume Il, the congressional
staff took full note of the breakdown of the precedence
system in communications and drew upon DoD-
provided information for the Middle East crisis. Of
some 452 high-precedence, (Flash and Immediate)
crisis-related DoD messages, only 22 percent of the
Flash and 30 percent of the Immediate messages
actually met established precedence criteria.

(U) Part of the delay in transmitting the
Immediate-precedence Sixth Fleet withdrawal message
to the Liberty, it will be recalled, was owing to the
urgency of equal or higher precedence (that is, Flash)
messages. During the crisis, originators assigned Im-
mediate precedence to messagea on subjecta such as
these: enlisted men reassignments, hospital-patient
reports unrelated to the crisis, friendly ship locations
and movements, setting up of press conferences,

60 UNCLASSIFIED

changes in reporting formats, U.S. military sales
policies, and reorganization of Army Reserve unita. In
contrast, actual instructions called for assignment of
Immediate precedence to “situations which gravely
affect the security of national/allied forces or populace,
and which require immediate delivery to the addres-
sees” — for example, amplifying reports of initial
€nemy contact, reports of unusual major movements
of military forces of foreign powers during peacetime
or during strained relations, attack orders, and urgent
intelligence messages.

(U) While the congreasional staff directed
most of its attention to DoD command communica-
tions, it also took note of Criticomm which, they found
functioned throughout the crisia relatively free of
problems. The staff was aware of steps NSA took to
keep Criticomm free of the overburdening traffic
common in crisis situations, particularly an 8 June
action in which NSA directed the curtailment of
electrical forwarding of all routine reports so that
crisis-related traffic could flow expeditiously.’

Notes

Source documents are in the “Crisis Collection" of the NSA History
Collection.

“Up le LTG Marshall S. Carter, Memorandum for
the Record, 8 June 1967; Dr. Louis W. Tordella, Memorandum,
“Directorate’s Temporary Mid-East Information Group,” &@ June
1967; Walter G. Deeley, Metcorandum for the D/DIR, “U.S.S.
Liberty," 14 June 1967; NSA Staff, “Report to the Director, NSA,”
12 June 1967; and DIRNSA letter to MG J. R. Rusa, (JCS Fact
Finding Team), 12 June 1967.

*«U) The Rusa Report; NSA Director, handwritten
notes, B and 10 June 1967; JCS/J-3, “Note by the Secretaries to
the JCS on U.S.S. Liberty Incident," JCS no. 2308/378, 24 June
1967; Joint Command and Control Requirements Group, Memoran-
dum for the Joint Chiefa of Staff, “Fact Finding Team," 18 June
1967; Walter G. Deeley, letter to Vice Director for Operationa (J-
3), 29 June 1967.

«U) House Appropriations Committee Surveys and
Investigations Staff, A Report to the Committee on Appropriations
- U.S, House of Representatives on the Effectiveness of the
Worldwide Communications Syatema and Networks of the DoD,
U.S.S. Liberty Incident, vol. | pp. 48-50. vol. I, pp. 75-76.
